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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:19-CR-00230-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          AND ORDER
14   KENNETH SHANE PATTERSON,                           DATE: August 24, 2020
                                                        TIME: 1:00 p.m.
15                               Defendant.             COURT: Hon. Stanley A. Boone
16

17          This case is set for status conference on August 24, 2020. On April 17, 2020, this Court issued

18 General Order 617, which suspends all jury trials in the Eastern District of California scheduled to

19 commence before June 15, 2020, and allows district judges to continue all criminal matters to a date

20 after June 1. This and previous General Orders were entered to address public health concerns related to
21 COVID-19.

22          Although the General Orders address the district-wide health concern, the Supreme Court has

23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at
27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.
10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
21 justice exception, § 3161(h)(7) (Local Code T4). 1 The government has provided voluminous discovery

22 in this case, which counsel is continuing to review. Morever, defense counsel requires additional time to

23 consult with his client, review the current charges, conduct investigation, and discuss possible

24 resolutions with the government and his client. The parties agree that failure to grant the above-

25 requested continuance will deny defense counsel the reasonable time necessary for effective preparation,

26 taking into account the exercise of due diligence. If continued, this Court should continue the August 24,
27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1 2020 status conference to November 23, 2020. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir.

 2 2010) (noting any pretrial continuance must be “specifically limited in time”).

 3                                               STIPULATION

 4          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 5 through defendant’s counsel of record, hereby stipulate as follows:

 6          1.     By previous order, this matter was set for status on August 24, 2020.

 7          By this stipulation, defendant now moves to continue the status conference until November 23,

 8          2020, and to exclude time between August 24, 2020, and November 23, 2020, under Local Code

 9          T4.

10          2.     The parties agree and stipulate, and request that the Court find the following:

11                 a)      The government has represented that the discovery associated with this case has

12          been either produced directly to counsel and/or made available for inspection and copying.

13                 b)      Counsel for defendant desires additional time to consult with his client, review the

14          current charges, conduct investigation, review discovery, and discuss possible resolutions with

15          the government and his client.

16                 c)      Counsel for defendant believes that failure to grant the above-requested

17          continuance would deny him the reasonable time necessary for effective preparation, taking into

18          account the exercise of due diligence.

19                 d)      The government does not object to the continuance.

20                 e)      In addition to the public health concerns cited by General Order 617, and

21          presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

22          this case because this is a complex case, and discovery is voluminous.

23                 f)      Based on the above-stated findings, the ends of justice served by continuing the

24          case as requested outweigh the interest of the public and the defendant in a trial within the

25          original date prescribed by the Speedy Trial Act.

26                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

27          et seq., within which trial must commence, the time period of August 24, 2020 to November 23,

28          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

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 1          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 2          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 3          interest of the public and the defendant in a speedy trial.

 4          3.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 5 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 6 must commence.

 7          IT IS SO STIPULATED.

 8

 9
     Dated: August 14, 2020                                   MCGREGOR W. SCOTT
10                                                            United States Attorney
11
                                                              /s/ VINCENTE A.
12                                                            TENNERELLI
                                                              VINCENTE A. TENNERELLI
13                                                            Assistant United States Attorney
14
     Dated: August 14, 2020                                   /s/ KEVIN P. ROONEY
15                                                            KEVIN P. ROONEY
16                                                            Counsel for Defendant
                                                              KENNETH SHANE
17                                                            PATTERSON

18

19                                                    ORDER
20          IT IS SO ORDERED that the Status Conference is continued from August 24, 2020, to November
21 23, 2020, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

22 18 U.S.C.§ 3161(h)(7)(A), B(iv).

23 IT IS SO ORDERED.

24
        Dated:    August 14, 2020                              /s/ Barbara   A. McAuliffe           _
25                                                      UNITED STATES MAGISTRATE JUDGE
26
27

28

      STIPULATION REGARDING EXCLUDABLE TIME               4
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